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    FILED & JUDGMENT ENTERED
           Steven T. Salata


             May 27 2021


     Clerk, U.S. Bankruptcy Court
    Western District of North Carolina
                                                                        _____________________________
                                                                                 J. Craig Whitley
                                                                          United States Bankruptcy Judge




                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                SHELBY DIVISION


In re:                                            )
                                                  )
         DONALD WAYNE PRICE,                      )     Chapter 13 Case No.: 14-40183
                                                  )
Debtor.                                           )

                CONSENT ORDER TO SET MOTION FOR CONTEMPT
            PROCEEDINGS FOR STATUS CONFERENCE ON AUGUST 27, 2021

         This matter comes before the Court on the ore tenus joint motion of NewRez LLC d/b/a

Shellpoint Mortgage Servicing (“Shellpoint”) and Donald Wayne Price (the “Debtor” and

collectively with the Debtor, the “Parties”). The Parties have submitted for the Court’s review and

entry the instant Consent Order setting a status conference on the Debtor’s Motion For

Reconsideration Of Claim Of Mortgage Servicer And For Contempt Of The Discharge Order And

Order Deeming Mortgage Loan Current [Docket No. 82] and related proceedings at Docket

Numbers 83, 89, 90, 91, and 92 (collectively, the “Motion for Contempt Proceedings”) for August

27, 2021.
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        Based on the agreement of the Parties as represented by the instant Consent Order, and for

good cause shown, the Court hereby ORDERS that Motion for Contempt Proceedings are set for

a status conference on August 27, 2021 at 9:30 A.M. EDT at the Cleveland County Courthouse,

100 Justice Place, Shelby, North Carolina 28150.

        IT IS THEREFORE SO ORDERED.

This Order has been signed                                  United States Bankruptcy Court
electronically. The judge’s
signature and court’s seal
appear at the top of the Order




CONSENTED TO BY:


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Shellpoint Mortgage Servicing
